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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT


 In re RAIL FREIGHT FUEL SURCHARGE
 ANTITRUST LITIGATION
                                                    MDL Docket No. 1869
                                                    Miscellaneous No. 07-00489 (PLF/GMH)
 This Document Relates To:

 ALL CASES

 OXBOW CARBON & MINERALS LLC, et al.,

                Plaintiffs,

        v.                                          Civil Action No. 11-1049 (PLF/GMH)

 UNION PACIFIC RAILROAD CO., et al.,

                Defendants                          Judge: Hon. Paul L. Friedman



                                             ORDER


       IT IS HEREBY ORDERED this 18th day of May, 2020, that the remaining

deadlines for submitting briefs regarding the interpretation and application of 49 U.S.C. §

10706, are extended as follows:

       1.      The United States shall file a statement of interest by July 13, 2020.

       2.      Plaintiffs and Defendants in the above-captioned actions and related cases may

respond to the United States’ statement of interest by August 3, 2020.

       3.      The hearing on these motions is rescheduled to August 26, 2020 at 10:00

A.M. The previously scheduled hearing date, July 15, 2020, is VACATED.



       SO ORDERED
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                                          /s/
                                         __________________
                                         PAUL L. FRIEDMAN
                                         United States District Judge

 DATE: May 18, 2020
